Case 9:22-cv-00723-AJB-CFH Document16 Filed 10/19/22 Page 1 of 24

UNITED STATES DISTRICT COURT
NORTHERN DISTRICT OF NEW YORK

Doyis Gipson 15Re ain

(Pro Se Prisoner)

Case No. fiat -CV-o0}Q3 BialcH

V. (Assigned by Clerk's
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Jury Demand

Plaintiff(s),

Defendant(s).

NOTICE ee Ee. a
The public can access electronic court files. For privacy and security reasons, — ——J
papers filed with the court should therefore not contain: an individual's social
security number, taxpayer identification number, or birth date; the name of a
person known to be a minor; or a financial account number. A filing may
include only: the last four digits of a social security number or taxpayer-
identification number; the year of an individual's birth; a minor's initials; and the
last four digits of a financial account number. See Fed. R. Civ. P. 5.2.

I. LEGAL BASIS FOR COMPLAINT

This is a civil action seeking relief and/or damages to defend and protect the
rights guaranteed by the Constitution and laws of the United States. Indicate
below the federal basis for your claims.

dh 42 U.S.C. § 1983 (state, county, or municipal defendants)

OQ Bivens v. Six Unknown Federal Narcotics Agents, 403 U.S. 388 (1971)
(federal defendants)

O Other (please specify)

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PLAINTIFF(S) INFORMATION

Name: [Sound Cinder

Prisoner ID #: JSAN \Y

Place of detention: _ N\urvy Cite

Address: ok Sco Nyuney WY 2402 —S bor

Indicate your confinement status when the alleged wrongdoing occurred:
O Pretrial detainee
O Civilly cornmitted detainee
Yi, Convicted and sentenced state prisoner
O Convicted and sentenced federal prisoner
O Immigration detainee

Provide any other names by which you are or have been known and any other
identification numbers associated with prior periods of incarceration:

If there are additional plaintiffs, each person must provide all of the information
requested in this section and must sign the complaint; additional sheets of paper
may be used and attached to this complaint.

DEFENDANT(S) INFORMATION

Defendant No. 1: DATA \U Keune Aut\

Name (Last, First)

Svulednkn >
Job Title
Work Address
N\aroy NY 3402 3G
City State Zip Code

Defendant No. 2: | edcy of Sco Snydee

Name (Last, First)

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Job Title '

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Marcy LE. Bok Stor

Work Address
Nurcy NY [40% -S669
City State Zip Code

Defendant No. 3: Dai SoPer Inendens \Wigaine AYA oon Huw

Naw (Last, First)

oD, Dla SoPennhuen+

Job Title |
N\arey CA, Bot 2koo
Work Address
N\urcy VY 12Yo3- 3boa
City State Zip Code

Defendant No. 4: Capron Ker Drak

Name (Last, First)

CaPla
Job Title
Marcy ZF Bok Stor
Work Addtess
Mspey NY 240-20»
City State Zip Code

If there are additional defendants, the information requested in this section must
be provided for each person; additional sheets of paper may be used and
attached to this complaint.

IV. STATEMENT OF FACTS
State briefly and concisely the facts supporting your claims. Describe the
events in the order they happened. Your statement of facts should include the

following:

e The date(s) on which the events occurred
e Where these events took place (identify the facility and, if relevant, the
specific location in the facility)

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e How each defendant was involved in the conduct you are complaining
about

If you were physically injured by the alleged misconduct, describe the nature of
your injuries and the medical evaluation and treatment you were provided. You

need not cite to case law or statutes or provide legal argument in the Statement
of Facts. Use additional sheets of paper if necessary.

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V. STATEMENT OF CLAIM(S)

State briefly and concisely the constitutional and/or statutory basis for each claim
you seek to assert and identify the defendant(s) against whom each claim is

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asserted. Commonly asserted claims include: excessive force; failure to protect;
deliberate indifference to medical needs; unconstitutional conditions of
confinement; denial of due process in a disciplinary or other proceeding; denial of
equal protection; retaliation for the exercise of a First Amendment right; and
interference with free exercise of religion. Legal argument and case citations are
not required. Use additional sheets of paper if necessary.

FIRST CLAIM
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Vi. RELIEF REQUESTED

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(All plaintiffs must sign thé’complaint)

(revised 10/2/16)
